&lt;div data-spec-version="0.0.3dev" data-generated-on="2024-03-31"&gt;
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 &lt;div class="ldml-decision"&gt;&lt;div class="ldml-decision"&gt;&lt;div href="/vid/890905344" data-vids="890905344" class="ldml-header header ldml-header content__heading content__heading--depth1" data-content-heading-label="Header"&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Jason Paul Beamer&lt;/span&gt;, &lt;span class="ldml-role"&gt;Petitioner&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;b class="ldml-bold"&gt; v. &lt;/b&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;The People of the State of Colorado&lt;/span&gt;. &lt;span class="ldml-role"&gt;Respondent&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;No. 21SC462&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-court"&gt;Supreme Court of Colorado&lt;/span&gt;, En Banc&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-date"&gt;&lt;b class="ldml-bold"&gt;September 27, 2021&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;
&lt;div class="ldml-casehistory"&gt;&lt;p data-paragraph-id="148" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="148" data-sentence-id="165" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Court
 of Appeals&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_165"&gt;&lt;span class="ldml-cite"&gt;Case No. 19CA228&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-opinion content__heading content__heading--depth1" data-content-heading-label="Opinion"&gt;&lt;p data-paragraph-id="205" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="205" data-sentence-id="221" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Petition
 for Writ&lt;/span&gt; of Certiorari DENIED.&lt;/span&gt;
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